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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


MICHAEL LEE DENNIS                                    *
                                  Petitioner,
         v.                                           * CIVIL ACTION NO. PJM-05-3000

MARYLAND PAROLE COMMISSION                            *
                   Respondent.
                                                     ***

                                     MEMORANDUM OPINION

        Petitioner, a prisoner at the Maryland Correctional Institution in Jessup, filed this “Petition

for Judicial Review,” seeking review of the June 5, 2005 decision by the Maryland Parole

Commission (“Commission”) ordering that he be held without bond pending the outcome of trial.

Paper No. 1. Petitioner complains that his detention could be indefinite. He asks that: the

revocation order be rescinded; his revocation be held in abeyance until after the proposed trial; a

new revocation hearing be held; and he be allowed to remain free on bail.1 Id.

        Petitioner’s Motion to Proceed In Forma Pauperis shall be granted. His action, construed

as a 28 U.S.C. § 2241 petition for habeas corpus, shall, however, be dismissed. Petitioner provides

no particularized reasons why the Commission’s decision to revoke parole is constitutionally or

statutorily infirm and warrants federal court habeas review.2 Indeed, the Petition reads more as a

a request for judicial review of an state administrative agency decision under Maryland Rule 7-201,


   1
        In an earlier petition, Dennis indicated that he had been charged with a new firearms offense while
on parole. See Dennis v. Review of Maryland Parole Commission, Civil Action No. PJM-05-2900 (D. Md.
2005). He claimed that he posted bail on his firearms charges on November 18, 2004, and was out on
personal recognizance bail, and that the bail also extended to a charge of violating probation. Id. Petitioner
complained that the Commission issued a retake warrant in violation of his constitutional and statutory rights.
Id. That Petition was summarily dismissed on October 28, 2005.
   2
         Again, the Court finds nothing constitutionally violative with regard to the Commission’s decision
to issue the retake warrant on the basis of the new firearms charges, notwithstanding Petitioner’s bail release
on those charges.
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a matter which lies outside this Court’s jurisdiction.

        For the foregoing reasons, the Petition shall be dismissed without requiring service of

process on Respondent. A separate Order follows.


Date:     11/8/05                                         /s/
                                                   PETER J. MESSITTE
                                              UNITED STATES DISTRICT JUDGE




                                                  2
